Case 2:11-cr-00005-RAED              ECF No. 52, PageID.113         Filed 06/07/11      Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:11-cr-05

v.                                                    HON. R. ALLAN EDGAR

JUSTIN KEVIN RIVET,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on June 7, 2011, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JUSTIN KEVIN RIVET entered a plea of guilty to Count 1 of the Superseding

Indictment, charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute

Oxycodone, in violation of 21:846, 841(a)(1) and 841(b)(1)(C)., in exchange for the undertakings

made by the government in the written plea agreement. On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.
Case 2:11-cr-00005-RAED            ECF No. 52, PageID.114           Filed 06/07/11      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count 1 of the Superseding

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. It is further recommended that

defendant remain detained pending sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, determination of defendant's status pending sentencing, and

imposition of sentence are specifically reserved for the district judge.



Date: June 7, 2011                                     /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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